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                                THE UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        MCALLEN DIVISION

TEMPLO PENTECOSTES SINAI-                                  §
BETHESDA,                                                  §
                                                           §
         Plaintiff,                                        §
                                                           §    CIVIL ACTION NO. 7:15-CV-192
vs.                                                        §
                                                           §
CHURCH MUTUAL INSURANCE                                    §
COMPANY,                                                   §
                                                           §
         Defendant.

                                DEFENDANT’S NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. § 1441, Defendant Church Mutual Insurance Company (“Church

Mutual”), hereby removes the action styled and numbered Templo Pentecostes Sinai-Bethesda v.

Church Mutual Insurance Company, Cause No. C-0882-15-F, pending in the 332nd Judicial

District Court in Hidalgo County, Texas to the United States District Court for the Southern

District of Texas, McAllen Division. For the reasons set forth below, removal of the state court

action is proper under 28 U.S.C. §§ 1332, 1441, and 1446.

                                  I.        THE STATE COURT ACTION
         1.         On March 2, 2015, Plaintiff Templo Pentecostes Sinai-Bethesda (“TPSB”) filed

its Original Petition in the 332nd Judicial District Court in Harris County, Texas – Cause No. C-

0882-15-F.

              II.      CHURCH MUTUAL’S NOTICE OF REMOVAL IS TIMELY
         2.         Church Mutual was served with the Original Petition and citation on March 27,

2015. Accordingly, Church Mutual files this Notice of Removal within the 30-day time period

required by 28 U.S.C. § 1446(b).




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                                          III.     VENUE IS PROPER
         3.       Venue is proper in this district under 28 U.S.C. § 1441(a) because the state court

where the action has been pending is located in this district.

                           IV.       BASIS FOR REMOVAL JURISDICTION
         4.       Removal of this action is proper under 28 U.S.C. § 1441 because it is a civil

action brought in a state court and the federal courts have original jurisdiction over the subject

matter pursuant to 28 U.S.C. § 1332. Specifically, removal is proper because there is now, and

was at the time this action was filed, complete diversity of citizenship between TPSB and Church

Mutual and the amount in controversy exceeds $75,000 excluding interest and costs.

         5.       TPSB is church with its principal place of business in Pharr, Hidalgo County,

Texas. TPSB is a resident and citizen of Texas for purposes of diversity citizenship. 1

         6.       Church Mutual is an insurance company incorporated in the State of Wisconsin

with its principal place of business located in Merrill, Wisconsin. Church Mutual is a citizen of

Wisconsin for purposes of diversity of citizenship. Church Mutual is not a citizen of the State of

Texas.

         7.       Accordingly, there is now, and was at the time this action was filed, complete

diversity of citizenship between all Plaintiffs, TPSB, and all Defendants, Church Mutual.

                                  V.        AMOUNT IN CONTROVERSY
         8.       If it is facially apparent that the TPSB’s claims exceed the jurisdictional amount,

Continental’s burden is satisfied. 2

         9.       In its Original Petition, TPSB “seeks monetary relief of over $200,000, but no



1
    See Exhibit B, TPSB’s Original Petition at ¶3.
2
    Allen v. R & H Oil & Gas Co., 63 F.3d 1326, 1335 (5th Cir. 1999).


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more than $1,000,000.” 3

         10.      Thus, it is facially apparent that TPSB’s claims exceed the jurisdictional

minimum of $75,000.01.

         11.      Because there is complete diversity among the parties and the amount in

controversy requirement is satisfied, this Court has jurisdiction pursuant to 28 U.S.C. § 1332(a).

Removal is therefore proper.

                            VI.      COMPLIANCE WITH LOCAL RULE 81
         12.      Pursuant to Rule 81 of the Local Rules of the Southern District of Texas, Church

Mutual is filing this Notice of Removal, accompanied by the following exhibits:

                  a.        All executed process in the case, attached hereto as Exhibit A

                  b.        TPSB’s Original Petition, attached hereto as Exhibit B

                  c.        Church Mutual’s Original Answer, attached hereto as Exhibit C

                  d.        The state court docket sheet, attached hereto as Exhibit D

                  e.        An index of matters being filed, attached hereto as Exhibit E

                  f.        A list of all counsel of record, including addresses, telephone numbers,
                            and parties represented, attached hereto as Exhibit F

                  g.        Declaration of Chris Roman, attached hereto as Exhibit G

                                             VII.      CONCLUSION
         13.      Church Mutual will promptly file a copy of this Notice of Removal with the clerk

of the state court where the action is pending.

         14.      Therefore, Church Mutual hereby provides notice that this action is duly removed.




3
    See Exhibit B, TPSB’s Original Petition at ¶70; see also Exhibit G-1, TPSB’s DTPA Demand Letter dated
    December 30, 2014, p. 6.


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                                               Respectfully submitted,

                                               ZELLE HOFMANN VOELBEL & MASON, LLP


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                                               MUTUAL INSURANCE COMPANY




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                                        CERTIFICATE OF SERVICE

         This is to certify that a true and correct copy of the foregoing Notice of Removal has

been served on all the following counsel of record by electronic filing pursuant to the FEDERAL

RULES OF CIVIL PROCEDURE on this 24th day of April, 2015

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                                                                       /s/ G. Brian Odom
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